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                        IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF SOUTH CAROLINA

                                 SPARTANBURG DIVISION

Summer D. Lashley, Ph.D.,                   )      Civil Action No. 7:18-cv-02957-JD-KFM
                                            )
               Plaintiff,                   )
                                            )
       vs.                                  )      PLAINTIFF’S REPLY TO
                                            )      DEFENDANTS’ OBJECTIONS TO
Spartanburg Methodist College;              )      MAGISTRATE JUDGE McDONALD’S
W. Scott Cochran; Mark W. Gibbs, Ph.D.; )          REPORT AND RECOMMENDATION
Teresa D. Ferguson; Jonathan J.             )      ON DEFENDANTS’ MOTION FOR
Keisler, Ph.D.; Angelia A. Turner; and      )      SUMMARY JUDGMENT
Clevon A. Boyd, in his individual capacity, )
                                            )
               Defendant.                   )
___________________________________ )

       Plaintiff, Summer D. Lashley, Ph.D., by and through her undersigned counsel, hereby files

this Reply to Defendants’ Objections to Magistrate Judge McDonald’s Report and Recommendation

(“R & R”) on Defendants’ Motion for Summary Judgment, which R & R was filed on December 20,

2021 (Dkt. No. 254). Plaintiff hereby incorporates by reference Plaintiff’s Memorandum of Law in

Opposition to Defendants’ Motion for Summary Judgment, with attached Exhibits (Dkt. Nos. 242-

244), as well as Plaintiff’s Objections to Magistrate Judge McDonald’s Report and Recommendation

on Defendants’ Motion for Summary Judgment, which objections were filed on January 18, 2022.

(Dkt. No. 266).

       Material questions of fact exist about whether Plaintiff’s immediate termination from

Defendant SMC on February 16, 2018 violated the terms of Plaintiff’s employment contract, which

incorporated by reference the SMC Faculty Handbook and the SMC Policies and Procedure Manual.

       Defendants’s objections disregard the undisputed fact that Defendant SMC completely
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ignored Plaintiff’s request for a grievance and her whistle-blower complaint, which were promised

to faculty members and employees of Defendant SMC pursuant to the terms of the Faculty

Handbook and Policies and Procedures Manuals. Defendant’s former HR Director, Jenny Dunn

plainly testified that faculty members are not at-will employees, but have contracts that incorporate

the SMC Policies and Procedures Manual and the Faculty Handbook. (Dunn Depo., at 238, ll. 11-

19).

       On Defendants’ Motion for Summary Judgment, when the Court must take all facts and

inferences in the record in the light most favorable to Plaintiff, the Court cannot merely accept

Defendants’ assertions that Defendant Cochran had cause to terminate Plaintiff’s employment

immediately, without even affording her grievance rights, a Title IX investigation, or whistle-blower

protections spelled out in the college’s employment documents, which were indisputably part of

Plaintiff’s employment contract.

       With respect to Plaintiff’s defamation claims relating to post-termination communications

about her, the Magistrate Judge properly determined that Defendants cannot establish a valid basis

for summary judgment in their favor and that questions about whether the Defendants exceeded any

qualified privilege is a question of fact for the jury. Kunst v. Loree, 424 S.C. 24, 43, 817 S.E.2d

295, 305 (Ct. App. 2018). Clearly, Defendants acted with reckless disregard for whether or not the

serious, defamatory statements were true or not and acted precipitately by publishing the defamatory

statements about Plaintiff without doing any investigation whatsoever.

       Likewise, Plaintiff’s claim for invasion of privacy with respect to this same publication

should be allowed to proceed to trial.

       For all of the foregoing reasons and for the reasons stated in Plaintiff’s Memorandum of Law


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in Opposition to Defendants’ Motion for Summary Judgment, the Court should accept the portions

of the Magistrate Judge’s Report and Recommendation denying Defendants’ Motion for Summary

Judgment as to Plaintiff’s claims for breach of contract, invasion of privacy, and defamation.

                                             Respectfully submitted,


                                              s/ David E. Rothstein
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                                             Attorney for Plaintiff, Summer D. Lashley, Ph.D.

January 18, 2022

Greenville, South Carolina.




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